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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

TIMOTHY FERGUSON,

Plaintiff, No. 20 CV 04046

VS. Judge Robert M. Dow
COOK. COUNTY, ILLINOIS, CESPD
SGT. JOHN BARLOGA, CCSPD POLICE
OFFICER ABELARDO MERCADO,
CCSPD OFFICER EDDIE ISHOO, ET AL.

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Defendants.

AFFIDAVIT OF VICKIE GOW

I, VICKIE GOW, declare, under penalty of perjury pursuant to Section 1-109 of the code of
Civil procedure, that if I were called upon to testify, I would do so as follows:

1. As of 9:00 p.m., on July 12, 2019, I was an owner of the residential property (“subject
property”) located at 7038 West 72nd Street, Chicago, Illinois, in County of Cook,
Illinois.

2. On the date, time, and location identified in Paragraph 1, Richard Bednarek was acting as
my agent for the purpose of serving eviction papers on the individual then living at the
subject property.

3. On the date, time, and location identified in paragraph | above, I was aware that Richard
Bednarek was at the subject property in the capacity as my agent and I went to the scene
after being notified by Mr. Bednarek that Timothy Ferguson was at the property and was
being held for trespassing by Cook County Sheriff's Police. I went to the property and
informed the Cook County Sheriffs Police that I was the court appointed executor of the
estate and that Mr. Bednarek was acting as my agent.

4. On the date, time, and location identified in paragraph 1 above, Richard Bednarek, acting
as my agent, made a formal complaint with the Cook County Sheriff's Police present at
the property that Timothy Ferguson was trespassing.

5. Cook County Sheriff's Police then took Timothy Ferguson into custody based upon that
trespassing complaint.

6. Later on that night, again acting as my agent, Richard Bednarek, withdrew the trespassing
complaint at which time Plaintiff was released from the custody of Cook County Sheriff's
Police.
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Further, Affiant sayeth not.

VERIFICATION

Under Section 1-109 of the Illinois Code of Civil Procedure, I, Vickie Gow, declare
under penalty of perjury, that the foregoing is true and correct, to the best of my knowledge.

Date: RO Qs5-202-5

By: /s/ ) Vadboi, L\sar

Vickie Gow, Affiant
